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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 FIVE STAR ROYALTY                             §
 PARTNERS, LTD.                                §              Civil Action No. 6:21-cv-00181
                                               §
                 Plaintiff,                    §
                                               §
 vs.                                           §              PLAINTIFF’S ORIGINAL
                                               §              COMPLAINT
 PARSLEY ENERGY                                §
 OPERATIONS, LLC,                              §
                                               §
                 Defendants                    §


       Plaintiff Five Star Royalty Partners, Ltd. (“Five Star”) complains of Defendant Parsley

Energy Operations, LLC (“Parsley”) as follows:

                                   I.   NATURE OF THE CASE

       1.      Parsley owns oil and gas working interests pursuant to mineral leases (the

“Leases”) conveyed on acreage covered by a May 5, 1927 deed (the “Deed”). Five Star is the

successor to the Deed’s grantee, and owns a three-eighths (3/8) interest in the mineral estate of

the affected lands. As a result of this interest, this Court, as affirmed by the Fifth Circuit, has

held, in a final and enforceable judgment, that Five Star has the right to receive three-eighths

(3/8) of the royalties paid on production from the lands described by the Deed. See Five Star

Royalty Partners, Ltd. v. Mauldin, 973 F.3d 367 (5th Cir. 2020). Accordingly, Parsley owes

Five Star royalties on all mineral production pursuant to the Leases.

       2.      Because of the aforementioned title dispute among its royalty owners, Parsley

suspended payment on disputed royalty proceeds, until the lawsuit confirmed Five Star’s

entitlement to the disputed proceeds. Parsley represented to Five Star that all disputed proceeds




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had been placed in suspense until the lawsuit was resolved. Five Star learned recently that this

representation was false.

       3.      Promptly upon the issuance of the Fifth Circuit’s mandate, Five Star demanded

that Parsley pay Five Star all of the formerly disputed royalties. In breach of its obligations

under its leases and the Texas Natural Resources Code, Parsley has failed and refused to pay all

of the royalties it owes Five Star, which are now past due. Five Star brings this lawsuit to

recover from Parsley its past due royalties, actual and punitive damages, attorneys’ fees and

costs, and prejudgment and post-judgment interest pursuant to applicable Texas law.

                                           II.   PARTIES

A.     Plaintiff

       4.      Plaintiff Five Star Royalty Partners, Ltd. is a limited partnership. For purposes of

federal diversity jurisdiction, its citizenship is determined by the citizenship of its partners. Five

Star’s limited partners are:

               a.      A. S. Pollack, as trustee of the Andrea Singer Pollack Revocable Trust,
                       who is an individual residing and domiciled in Colorado, and is a citizen
                       of Colorado;

               b.      Polo Creek Enterprises LLC, a Colorado limited liability company having
                       the following members:

                       1.      Cintra Pollack, as trustee of the Noah Pollack Annuity Trust, who
                               is an individual residing and domiciled in Colorado, and who is a
                               citizen of Colorado;

                       2.      Cintra Pollack, as trustee of the Cintra Pollack Annuity Trust, who
                               is an individual residing and domiciled in Colorado, and who is a
                               citizen of Colorado;

                       3.      Race Street Management, LLC, a Colorado limited liability
                               company, having the following members:

                               i.      Cintra Pollack, who is an individual residing and domiciled
                                       in Colorado, and who is a citizen of Colorado;



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                               ii.    Noah Pollack, who is an individual residing and domiciled
                                      in New York, and who is a citizen of New York;

               c.      Noah Pollack, as trustee of the Noah Singer Pollack Revocable Trust, who
                       is an individual residing and domiciled in New York, and is a citizen of
                       New York;

               d.      Cintra Pollack, as trustee of the Cintra Pollack Revocable Trust, who is an
                       individual residing and domiciled in Colorado, and is a citizen of
                       Colorado;

               e.      Rance Kevin Preston, an individual residing and domiciled in Colorado,
                       and who is a citizen of Colorado;

               f.      Pamela Kingery, an individual residing and domiciled in Colorado, and
                       who is a citizen of Colorado;

               g.      Steven Edwards, an individual residing and domiciled in Colorado, and
                       who is a citizen of Colorado;

               h.      Steven Fiedler, an individual residing and domiciled in Colorado, and who
                       is a citizen of Colorado;

               i.      Karen Griffith, an individual residing and domiciled in Colorado, and who
                       is a citizen of Colorado;

               j.      Denise Tursick, an individual residing and domiciled in Colorado, and
                       who is a citizen of Colorado;

               k.      Cintra Pollack, as trustee of the Noah Pollack 2012 Trust, who is an
                       individual residing and domiciled in Colorado, and is a citizen of
                       Colorado;

               l.      Cintra Pollack, as trustee of the Cintra Pollack 2012 Trust, who is an
                       individual residing and domiciled in Colorado, and is a citizen of
                       Colorado.

       5.       Five Star’s sole general partner is ASPRP, L.L.C., which is a limited liability

company having as its sole member Andrea Pollack. Andrea Pollack is an individual residing

and domiciled in Denver, Colorado, and is a citizen of Colorado. For purposes of federal

diversity jurisdiction, ASPRP, L.L.C. is a citizen of Colorado, which is the state of which its sole

member is a citizen. Five Star is a citizen of Colorado, because its sole general partner, ASPRP,

L.L.C., and all but one of its limited partners are citizens of Colorado, and is a citizen of New


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York because two of its limited partners, Polo Creek Enterprises, LLC and Noah Pollack, are

citizens of New York.

B.      Defendant

        6.       Defendant Parsley Energy Operations, LLC is a wholly owned subsidiary of Pearl

Second Merger Sub LLC, a Delaware limited liability company, which is a wholly owned

subsidiary of Pioneer Natural Resources Company, a Delaware corporation with its principal

place of business in Texas. Accordingly, Defendant is a citizen of Texas and of Delaware.

                              III.    JURISDICTION AND VENUE

        7.       The Court has jurisdiction pursuant to 28 U.S.C. § 1332(a) because Plaintiff and

Defendant are citizens of different states, and the amount in controversy exceeds $75,000,

exclusive of interest and costs.

        8.       Defendant Parsley is subject to personal jurisdiction in the State of Texas because

it is a resident of Texas and because it has committed acts complained of within this judicial

district in Texas.

        9.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because the

Defendant has its principal place of business in this judicial district. Venue also is proper in this

district because a substantial part of the events or omissions giving rise to the claim occurred in

this district, and a substantial part of the property that is the subject of this action is located in

this district.

                               IV.     CONDITIONS PRECEDENT

        10.      All conditions have been performed or have occurred.




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                                            V.    FACTS

       11.     Plaintiff Five Star owns mineral rights covering lands within the acreage

described by the Deed.

       12.     Defendant Parsley is an upstream oil and gas production company that is a lessee

under the Leases. These contracts, either directly or as a result of assignment, provide for

Defendant to develop the leased premises and produce, market and sell oil, gas and associated

hydrocarbons in paying quantities. The contracts obligate Defendant to pay Five Star royalties

on oil and gas produced by and through the oil and gas lease contracts.

       13.     Because of a dispute between Five Star and certain other mineral owners under

the Leases, Parsley suspended some (but not all) of the royalty proceeds attributable to the

disputed interest. This dispute was ultimately resolved by this Court and affirmed by the Fifth

Circuit. See Five Star Royalty Partners, Ltd. v. Mauldin, 973 F.3d 367 (5th Cir. 2020). Parsley

subsequently paid Five Star all formerly disputed proceeds that had been properly placed in

suspense. However, contrary to its representations to Five Star, Parsley failed to place all

disputed royalty proceeds in suspense.

       14.     In 2016 and 2019, Parsley sent Five Star division orders covering the wells that

are attributable to the unpaid royalty proceeds. In these division orders, which were effective as

of the date oil and gas production were first sold from the wells (at the latest), Parsley falsely

represented to Five Star that all disputed proceeds were being placed in suspense until the

dispute with the other Parsley royalty owners was resolved. For example:




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       15.     Parsley also falsely represented in various email correspondence with Five Star

that the disputed royalties were being placed in suspense. For instance, in a 2016 email from a

Parsley landman to Five Star, Parsley stated:




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And in another 2016 email, Parsley again falsely represented that the disputed interests were

being placed in suspense:




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       16.     Through further correspondence with Five Star, Parsley has recently confirmed

the falsity of Parsley’s prior representations that all disputed proceeds were being placed into

suspense. Because Parsley is the operator of the applicable oil and gas wells, Parsley had actual

knowledge that not all disputed royalties had been placed into suspense. Parsley concealed this

failure by misrepresenting, through division orders and email correspondence, that all disputed


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royalties had been placed in suspense, as of the date of first sales of production from the relevant

wells, at the latest. Parsley’s purpose in making these misrepresentations was to conceal its

failure to properly suspend all disputed royalties, as of first production from the wells. Having

no way of independently verifying whether or not Parsley had in fact suspended all disputed

royalty payments, Five Star reasonably relied on these misrepresentations.

       17.     Defendant Parsley has failed and refused to pay Five Star royalties Five Star is

due under the Leases. The previously disputed royalties are due to be paid to Five Star and are

presently past due. Parsley has failed to pay those past due royalties it owes Five Star that

Parsley now claims were never placed into suspense.

                                         VI.     CLAIMS

                                COUNT 1 – Breach of Contract

       18.     Plaintiff Five Star incorporates by reference all preceding paragraphs.

       19.     Plaintiff Five Star owns mineral interests under the Leases and is due to be paid

royalties on all mineral production occurring under them.

       20.     Plaintiff Five Star, as a party to the Leases and assignments, is the proper party to

enforce the terms of the Leases and assignments and has performed, or substantially performed,

any and all necessary conditions precedent, dependent obligations, and/or dependent covenants

owed under the Leases and assignments.

       21.     Plaintiff Five Star is, and has been, entitled to payment by Defendant Parsley of

Plaintiff Five Star’s share of the royalties due under the Leases and assignments.

       22.     Defendant Parsley’s failure and refusal to timely pay the royalties it owes Five

Star constitutes a material breach of Defendant Parsley’s obligations under the Leases.




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          23.   Defendant Parsley has materially breached its contractual obligations to Plaintiff

Five Star by failing to pay the agreed royalty payments for minerals produced from the relevant

lands.

          24.   Defendant’s contractual breaches have caused financial loss to Plaintiff Five Star,

for which it is entitled to recover actual damages, consequential damages, interest, penalties,

attorneys’ fees, and any other legal or equitable relief to which it is justly entitled.

                                      COUNT 2 – Conversion

          25.   Five Star incorporates by reference all preceding paragraphs.

          26.   Oil, gas and other minerals severed from realty become personal property that can

be converted.

          27.   Plaintiff Five Star owns personal property in the form of oil, gas and other

minerals severed from realty by Defendant Parsley and is an interest owner entitled to royalties

from the sale of minerals by Defendant Parsley.

          28.   Defendant Parsley has wrongfully exercised dominion and control over Plaintiff’s

personal property by failing to pay royalties owed to Plaintiff from the sale of minerals owned by

Plaintiff Five Star in a manner inconsistent with Plaintiff’s rights.

          29.   Defendant Parsley’s conduct was of a wanton and malicious nature.

          30.   Plaintiff Five Star is entitled to recover actual damages, exemplary damages,

interest, and court costs as a result of Defendant Parsley’s conduct.

                                  COUNT 3 – Unjust Enrichment

          31.   Plaintiff Five Star incorporates by reference all preceding paragraphs.

          32.   Plaintiff Five Star provided for Defendant Parsley valuable materials in the form

of minerals produced from the leased premises.




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       33.     Defendant Parsley accepted the minerals from Plaintiff Five Star.

       34.     Defendant Parsley had reasonable notice that Plaintiff expected compensation for

the oil, other liquid hydrocarbons or liquefiable hydrocarbons and/or natural gas provided, but

did not fully compensate Plaintiff Five Star for those minerals.

       35.     Plaintiff Five Star is entitled to recover damages for the reasonable value of the

materials, prejudgment and post-judgment interest, court costs, and reasonable attorney fees.

                       COUNT 4 – Security Interest and Statutory Lien

       36.     Plaintiff incorporates by reference all preceding paragraphs.

       37.     Plaintiff Five Star is an interest owner who owns an entire or fractional interest in

oil and gas production at the time of severance, or a person who has an express, implied, or

constructive right to receive a monetary payment determined by the value of oil or gas

production by the amount of production.

       38.     Plaintiff Five Star’s interest is evidenced by a deed, mineral deed, reservation in

either, oil or gas lease, assignment, or any other such record recorded in the real property records

of Upton County, Texas and Reagan County, Texas.

       39.     Defendant Parsley has signed an agreement to purchase oil or gas production,

issued a division order, or made voluntary communication to Plaintiff Five Star recognizing

Plaintiff Five Star as an interest owner with a right under real property law.

       40.     Defendant Parsley is an operator and engaged in the business of severing oil or

gas production from the ground.

       41.     Defendant Parsley is a first purchaser and operator that receives production

proceeds from a third-party purchaser who acts in good faith under a division order or other




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agreement authenticated by Defendant under which Defendant collects proceeds of production

on behalf of other interest owners.

        42.    Plaintiff Five Star is entitled to a security interest and lien in the mineral

production, and also in the identifiable proceeds of that production owned by, received by, or due

to Defendant Parsley, pursuant to Texas Business and Commerce Code § 9.43.

                                   COUNT 5 – Attorney’s Fees

        43.    Plaintiff Five Star incorporates by reference all preceding paragraphs.

        44.    As a result of Defendant Parsley’s actions and the need to protect their interests,

Plaintiff has retained the law firm of Thompson & Knight LLP to represent it in this action.

Plaintiff Five Star has agreed to pay the law firm of Thompson & Knight LLP attorneys’ fees.

        45.    Plaintiff Five Star seeks recovery of all reasonable and necessary attorney’s fees

pursuant to Chapter 37 and/or 38 of the Texas Civil Practices and Remedies Code, and Tex. Nat

Res. Code § 91.406 and, if applicable, specific contract provisions.

                              FRAUDULENT CONCEALMENT

        46.    To the extent Parsley raises the affirmative defense of limitations, fraudulent

concealment applies to toll the accrual of Five Star’s claims. As reflected in the allegations set

forth above, (1) Parsley had actual knowledge of the wrong, (2) Parsley concealed the wrong by

making a misrepresentation or by remaining silent when it had a duty to speak, (3) Parsley had a

fixed purpose to conceal the wrong, and (4) Five Star reasonably relied on the misrepresentation

or silence.

                           REQUEST FOR RELIEF AND PRAYER

        47.    Wherefore, Plaintiff Five Star requests that, upon final trial of this matter,

judgment be entered for Plaintiff against Defendant Parsley, awarding Plaintiff all relief to which




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Plaintiff is entitled as a result of the wrongful acts and omissions described herein, including,

without limitation, the following:

       48.     A determination that Defendant Parsley breached obligations owed to Plaintiff

Five Star;

       49.     Actual and consequential damages;

       50.     Applicable statutory penalties;

       51.     Punitive damages;

       52.     Forfeiture of all profits associated with Defendant’s wrongdoing;

       53.     Pre and post judgment interest at the highest rate allowed by law;

       54.     Statutory penalties and interest as provided at Tex. Nat. Res. Code §§ 91.401 –

               91.404;

       55.     An award of attorneys’ fees and expenses; and

       All other and further relief to which Plaintiff Five Star is justly entitled.

                                               Respectfully submitted,

                                               THOMPSON & KNIGHT LLP

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